                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

UNITED STATES OF AMERICA                             )
                                                     )
                                                     )
v.                                                   )      Criminal No. 3:12-00170
                                                     )      Judge Trauger
[3] ELICIO FUERTE-BARRIGA                            )
                                                     )

                                            ORDER

         Counsel for the defendant presented in open court a motion to review the detention

decision of the Magistrate Judge in California, which he will be electronically filing. Assuming

that this motion is properly filed, it is hereby SET FOR HEARING on Monday, October 21,

2013, at 10:00 a.m.

         It is so ORDERED.

         ENTER this 27th day of September 2013.



                                                     ________________________________
                                                           ALETA A. TRAUGER
                                                             U.S. District Judge




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